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16                                  UNITED STATES DISTRICT COURT
17                             NORTHERN DISTRICT OF CALIFORNIA
18                                     SAN FRANCISCO DIVISION
19

20   GOOGLE LLC,                                    Case No. 3:20-cv-06754-WHA

21                     Plaintiff,                   Consolidated with
                                                    Case No. 3:21-cv-07559-WHA
22          v.
                                                    DECLARATION OF GEOFFREY
23   SONOS, INC.,                                   MOSS IN SUPPORT OF SONOS, INC.’S
                                                    OBJECTIONS TO GOOGLE LLC’S
24                     Defendant.                   BILL OF COSTS

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                                                                MOSS DECL. ISO SONOS’S OBJECTIONS
                                                                       TO GOOGLE’S BILL OF COSTS
                                                                              3:20-CV-06754-WHA
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 1             I, Geoffrey Moss, declare as follows and would so testify under oath if called upon to do

 2   so:

 3             1.     I am an associate with the law firm of Orrick, Herrington & Sutcliffe LLP, counsel

 4   of record to Sonos, Inc. (“Sonos”) in the above-captioned matter. I am a member in good

 5   standing of the Bar of the State of California. I make this declaration based on my personal

 6   knowledge, unless otherwise noted. If called, I can and will testify competently to the matters set

 7   forth herein.

 8             2.     I make this declaration in support of Sonos’s Objections to Google’s Bill of Costs.

 9             3.     I have reviewed Google’s Bill of Costs and am familiar with the substance of the

10   miscellaneous hearings for which Google seeks costs.

11             4.     Google seeks to recover costs for a transcript dated November 19, 2020. This is a

12   transcript of the hearing on Sonos’s motion to dismiss or to transfer the case to the Western

13   District of Texas.

14             5.     Google seeks to recover costs for a transcript dated October 7, 2021. This is a

15   transcript of a status conference.

16             6.     Google seeks to recover costs for a transcript dated January 6, 2022. This is a

17   transcript of a hearing regarding a discovery dispute and Sonos’s infringement contentions.

18             7.     Google seeks to recover costs for a transcript dated January 13, 2022. This is a

19   transcript of a hearing on Google’s motion to amend its complaint, and other case management

20   issues.

21             8.     Google seeks to recover costs for a transcript dated February 24, 2022. This is a

22   transcript of a hearing on Google’s motion to dismiss.

23             9.     Google seeks to recover costs for a transcript dated March 24, 2022. This is a

24   transcript of a hearing regarding a discovery dispute before Magistrate Judge Ryu.

25             10.    Google seeks to recover costs for a transcript dated May 18, 2022 transcript. This

26   is a transcript of a telephonic conference regarding Judge Alsup’s law clerk.

27             11.    Google seeks to recover costs for a transcript dated June 1, 2022. This is a

28   transcript of a hearing on Sonos’s motion to file a third amended complaint.
                                                                          MOSS DECL. ISO SONOS’S OBJECTIONS
                                                     1                           TO GOOGLE’S BILL OF COSTS
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 1          12.     Google seeks to recover costs for a transcript dated December 8, 2022. This is a

 2   transcript of a hearing on Google’s request for leave to amend its invalidity contentions.

 3          13.     Google seeks to recover costs for a transcript dated February 23, 2023. This is a

 4   transcript of a hearing regarding a discovery dispute before Magistrate Judge Ryu.

 5          14.     On November 29 and 30, 2023, counsel for Sonos and Google met and conferred,

 6   unsuccessfully, to try to resolve Sonos’s objections to Google’s bill of costs.

 7          I declare under penalty of perjury that the foregoing is true and correct to the best of my

 8   knowledge. Executed this 1st day of December, 2023, at Glendale, California.

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10                                                                     /s/ Geoffrey Moss
                                                                          GEOFFREY MOSS
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                                                                         MOSS DECL. ISO SONOS’S OBJECTIONS
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